                                                                        Case 21-14486-abl         Doc 101       Entered 10/18/21 15:46:58             Page 1 of 3




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                                                            10   Medical Receivables Fund, L.P.
                                                            11                                  UNITED STATES BANKRUPTCY COURT
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                                                            12                                              DISTRICT OF NEVADA
                     LAS VEGAS< NEVADA 89134




                                                            13
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                                                                 In re:
                                                                                                                             Case No.:        21-14486-abl
                                                            14   INFINITY CAPITAL                                            Chapter          7
                                                                 MANAGEMENT, INC;
                                                            15   dba INFINITY HEALTH CONNECTIONS                               NOTICE OF HEARING ON JOINT
                                                                                                                               MOTION TO REJECT SUB-ADVISORY
                                                            16                      Debtor.                                    AGREEMENT
                                                            17
                                                                                                                               Hearing Date: November 17, 2021
                                                            18                                                                 Hearing Time: 9:30 a.m.
                                                                                                                               Location: Telephonic Hearing Only1
                                                            19

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                                                                              NOTICE IS HEREBY GIVEN that a motion entitled Joint Motion of Chapter 7 Trustee
                                                            21
                                                                 and Party in Interest to Reject Sub-Advisory Agreement Tecumseh-Infinity Medical Receivables
                                                            22
                                                                 Fund LP [ECF 61] (the "Motion") was filed on October 5, 2021 by Tecumseh – Infinity Medical
                                                            23
                                                                 Receivable Fund, LP, (“Tecumseh”), a party in interest. The Motion seeks entry of an order under 11
                                                            24
                                                                 U.S.C. § 365 rejecting a certain executory contract between the Debtor and Tecumseh known as the
                                                            25
                                                                 Sub-Advisory (the "Agreement").
                                                            26

                                                            27   1
                                                                   This hearing will be heard telephonically. Check the Bankruptcy Court’s website prior to the hearing for the call-in
                                                                 number, at: https://www.nvb.uscourts.gov/calendars/court-calendars/. The calendar for this hearing will be posted under
                                                            28   “Duty Judges (Chapter 7 & 13) a few days prior to the hearing. Select the pdf for the Chapter 7 calendar for the date
                                                                 listed above, and the call-in information for the hearing will be identified at the top of that pdf.
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                                                                        Case 21-14486-abl         Doc 101      Entered 10/18/21 15:46:58       Page 2 of 3




                                                             1                NOTICE IS FURTHER GIVEN that the hearing on the Motion will be held before a U.S.

                                                             2   Bankruptcy Judge at the time and place specified in the caption to this document. This hearing may

                                                             3   be continued from time to time without further notice to you.

                                                             4                NOTICE IS FURTHER GIVEN that a copy of the Motion may be obtained from either: (i)

                                                             5   the Bankruptcy Clerk located on the Fourth Floor of the Foley Federal Building, 300 Las Vegas

                                                             6   Boulevard South Las Vegas, Nevada 89101; or (ii) by contacting the Tecumseh’s counsel Michael

                                                             7   Napoli, at either (214) 720-4360 or by email at michael.napoli@akerman.com.

                                                             8                NOTICE IS FURTHER GIVEN that if you do not want the court to grant the relief sought
                                                             9   in the Motion, or if you want the court to consider your views, then you must file an opposition with

                                                            10   the court, and serve a copy to the Tecumseh’s counsel no later than 14 days preceding the hearing

                                                            11   date for the Motion, unless an exception applies (see Local Rule 9014(d)(3)). The opposition must
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                                                            12   state your position, set forth all relevant facts and legal authority, and be supported by affidavits or
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                                                            13   declarations that conform to LR 9014(c).
AKERMAN LLP




                                                            14
                                                                      If you object to the relief requested you must file a WRITTEN response to this pleading with
                                                            15        the court. You must also serve your written response on the person who sent you this notice.

                                                            16        If you do not file a written response with the court, or if you do not serve your written
                                                                      response on the person who sent you this notice, then:
                                                            17

                                                            18                 •   The court may refuse to allow you to speak at the scheduled hearing; and
                                                                               •   The court may rule against you without formally calling the matter at the hearing.
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                                                            22                DATED: October 18, 2021.

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